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                                                                                       UNITED STATES DISTRICT COURT
                                           9
                                                                                     NORTHERN DISTRICT OF CALIFORNIA
                                          10
                                                                                                   SAN JOSE DIVISION
For the Northern District of California




                                          11
                                               EVOLUTIONARY INTELLIGENCE,                               Case Nos. C-13-04513 RMW, C-13-04201 DJ, C-
    United States District Court




                                          12   LLC,                                                     13-04202 SI, C-13-04203 MMC, C-13-04204 SI,
                                                                                                        C-13-04205 WHO, C-13-04206 EJD, C-13-04207
                                          13                            Plaintiff,                      JSW, C-13-03587 DMR
                                          14   v.                                                          ORDER RELATING CASES
                                          15   SPRINT NEXTEL CORPORATION,
                                               SPRINT COMMUNICATIONS
                                          16   COMPANY L.P., SPRINT SPECTRUM
                                               L.P., SPRINT SOLUTIONS INC.,
                                          17
                                                                        Defendants.
                                          18

                                          19   EVOLUTIONARY INTELLIGENCE,
                                               LLC,
                                          20
                                                                        Plaintiff,
                                          21
                                               v.
                                          22
                                               APPLE, INC.,
                                          23
                                                                        Defendants.
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                                               ORDER RELATING CASES, Case Nos. C-13-
                                               04513, C-13-04201, C-13-04202, C-13-04203, C-13-04204,    -1-
                                               C-13-04205, C-13-04206, C-13-04207, C-13-03587
                                                    Case 5:13-cv-04513-RMW Document 159 Filed 07/28/14 Page 2 of 4



                                           1   EVOLUTIONARY INTELLIGENCE,
                                               LLC,
                                           2
                                                                        Plaintiff,
                                           3
                                               v.
                                           4
                                               FACEBOOK, INC.,
                                           5
                                                                        Defendants.
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                                           7
                                               EVOLUTIONARY INTELLIGENCE,
                                           8   LLC,

                                           9                            Plaintiff,

                                          10   v.

                                               FOURSQUARE LABS, INC.,
For the Northern District of California




                                          11
    United States District Court




                                          12                            Defendants.

                                          13
                                               EVOLUTIONARY INTELLIGENCE,
                                          14   LLC,
                                          15                            Plaintiff,
                                          16   v.
                                          17   GROUPON, INC.,
                                          18                            Defendants.
                                          19

                                          20   EVOLUTIONARY INTELLIGENCE,
                                               LLC,
                                          21
                                                                        Plaintiff,
                                          22
                                               v.
                                          23
                                               LIVINGSOCIAL, INC.,
                                          24
                                                                        Defendants.
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                                               ORDER RELATING CASES, Case Nos. C-13-
                                               04513, C-13-04201, C-13-04202, C-13-04203, C-13-04204,   -2-
                                               C-13-04205, C-13-04206, C-13-04207, C-13-03587
                                                    Case 5:13-cv-04513-RMW Document 159 Filed 07/28/14 Page 3 of 4



                                           1   EVOLUTIONARY INTELLIGENCE,
                                               LLC,
                                           2
                                                                        Plaintiff,
                                           3
                                               v.
                                           4
                                               TWITTER, INC.,
                                           5
                                                                        Defendants.
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                                               EVOLUTIONARY INTELLIGENCE,
                                           8   LLC,

                                           9                            Plaintiff,

                                          10   v.

                                               YELP, INC.,
For the Northern District of California




                                          11
    United States District Court




                                          12                            Defendants.

                                          13
                                               EVOLUTIONARY INTELLIGENCE,
                                          14   LLC,
                                          15                            Plaintiff,
                                          16   v.
                                          17   MILLENIAL MEDIA, INC.,
                                          18                            Defendants.
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                                          20             The court orders that the above nine Evolutionary Intelligence cases be related. At the
                                          21   hearing on July 11, 2014, the court also set a hearing for September 19, 2014 at 9:00 a.m. on
                                          22   whether the stays should be lifted. The defendants’ joint opening brief of no more than 10 pages is
                                          23   due August 15, 2014. Should any individual defendant wish to raise other arguments, the court
                                          24   grants each individual defendant leave to file a separate brief of no more than 5 pages also due
                                          25   August 15, 2014. Plaintiff’s opposition of no more than 10 pages is due August 29, 2014. Plaintiff
                                          26   may also respond to any individual defendant’s brief with no more than the same number of pages
                                          27   used by that defendant. Defendants’ joint reply brief of no more than 5 pages is due September 5,
                                          28   2014, and individual defendants have leave to file separate replies of no more than 3 pages. The
                                               ORDER RELATING CASES, Case Nos. C-13-
                                               04513, C-13-04201, C-13-04202, C-13-04203, C-13-04204,   -3-
                                               C-13-04205, C-13-04206, C-13-04207, C-13-03587
                                                   Case 5:13-cv-04513-RMW Document 159 Filed 07/28/14 Page 4 of 4



                                           1   court would like the parties’ briefing to particularly address the advantages or disadvantages of

                                           2   waiting until after the Patent Trial and Appeal Board makes a final decision in April to proceed with

                                           3   the instant cases. The briefing should also address the prejudice, if any, of maintaining the stays

                                           4   currently in effect.

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                                           6   Dated: July 28, 2014                                           _________________________________
                                                                                                              RONALD M. WHYTE
                                           7                                                                  United States District Judge
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                                          10
For the Northern District of California




                                          11
    United States District Court




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                                               ORDER RELATING CASES, Case Nos. C-13-
                                               04513, C-13-04201, C-13-04202, C-13-04203, C-13-04204,   -4-
                                               C-13-04205, C-13-04206, C-13-04207, C-13-03587
